     Case 2:23-cr-00599-MCS Document 43 Filed 03/11/24 Page 1 of 3 Page ID #:909




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 9   UNITED STATES OF AMERICA
10
                              UNITED STATES DISTRICT COURT
11
12                     FOR THE CENTRAL DISTRICT OF CALIFORNIA

13   UNITED STATES OF AMERICA,                    No. CR 23-cr-00599-MCS
14               Plaintiff,                       GOVERNMENT’S UNOPPOSED EX
15                                                PARTE APPLICATION FOR ORDER
                        v.                        SEALING GOVERNMENT’S
16                                                UNREDACTED OPPOSITION TO
     ROBERT HUNTER BIDEN,                         DEFENDANT’S MOTION TO DISMISS
17                                                THE INDICTMENT FOR DUE PROCESS
                                                  VIOLATIONS BASED ON
18               Defendant.                       OUTRAGEOUS GOVERNMENT
                                                  CONDUCT AND THREE EXHIBITS
19
                                                  Hearing Date:     March 27, 2024
20                                                Hearing Time:     1:00 p.m.
21                                                Location:         Courtroom of the
                                                                    Hon. Mark Scarsi
22
23
24         The government hereby applies ex parte for an order that seals the Government’s

25   Unredacted Opposition to Defendant’s Motion to Dismiss the Indictment for Due

26   Process Violations Based On Outrageous Government Conduct and Three Exhibits

27   (Exhibits 2, 4, & 5). The government filed a redacted version of its opposition on the

28   public docket which includes redactions to a potential ongoing investigation in one
     Case 2:23-cr-00599-MCS Document 43 Filed 03/11/24 Page 2 of 3 Page ID #:910




 1   paragraph of the filing, and the government has filed three exhibits that reference a
 2   potential ongoing investigation under seal. The justification for the redaction and the
 3   sealed exhibits is that the redacted information contained in the filing and the sealed
 4   exhibits relates to a potential ongoing investigation(s) and the investigating agency(cies)
 5   specifically requested that the government request that the court seal the exhibits, as well
 6   as any accompanying reference in the pleading, in order to protect the integrity of the
 7   potential ongoing investigation(s). See Kamakana v. City and County of Honolulu, 447
 8   F.3d 1172 (9th Cir. 2006); Times Mirror Co. v. United States, 873 F.2d 1210 (9th Cir.
 9   1989). Here, the potential investigation(s) may involve allegations of wrongdoing, and
10   the potential investigation(s) could be frustrated, not served, if the public were allowed
11   access to these materials in the midst of the potential investigation(s). To be clear, the
12   aforementioned potential ongoing investigations are not references to any investigation
13   of the defendant conducted by the U.S. Department of Justice.
14         On March 11, 2024, undersigned counsel emailed counsel for the defendant for his
15   position on this motion to seal. Mr. Abbe Lowell, counsel for the defendant, responded
16   and indicated that the defendant does not object to the motion to seal.
17         This ex parte application is made pursuant to Local Criminal Rule 49-1.2(b)(3)
18   and is based on the attached declaration of Senior Assistant Special Counsel Derek E.
19   Hines.
20    Dated: March 11, 2024                     Respectfully submitted,
21
                                                DAVID WEISS
22                                              Special Counsel
23
                                                /s/
24                                              LEO J. WISE
                                                Principal Senior Assistant Special Counsel
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26                                              DEREK E. HINES
27                                              Senior Assistant Special Counsel

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     Case 2:23-cr-00599-MCS Document 43 Filed 03/11/24 Page 3 of 3 Page ID #:911



 1                          DECLARATION OF DEREK E. HINES
 2         I, Derek E. Hines, declare as follows:
 3         1.     I am the Senior Assistant Special Counsel and represent the government in
 4   the prosecution of United States of America v. Robert Hunter Biden, No. CR 23-cr-
 5   00599-MCS.
 6         2.     On or about March 11, 2024, the government filed the “Government’s
 7   Opposition to Defendant’s Motion to Dismiss the Indictment for Due Process Violations
 8   Based On Outrageous Government Conduct.” The public filing of this document included
 9   a partially redacted paragraph that references a potential ongoing investigation(s). Three
10   exhibits (Exhibits 2, 4, and 5) reference a potential ongoing investigation(s). The
11   government was advised by the Office of IRS Chief Counsel that the investigating entity
12   referenced in each of Exhibits 2, 4, and 5 agreed that the documents could be provided to
13   the government and used in a filing with the court provided that the government asked
14   the court to seal these exhibits and certain references to those exhibits in order to protect
15   the integrity of the potential ongoing investigation(s).
16         3.     I declare under penalty of perjury under the laws of the United States of
17   America that the foregoing is true and correct and that this declaration is executed in the
18   Commonwealth of Pennsylvania on March 11, 2024.
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21                                                  __________________________
22                                                  DEREK E. HINES
                                                    Senior Assistant Special Counsel
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